Case 1:16-cv-01822-LTB Document 49 Filed 07/15/19 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:16-cv-01822

WILDERNESS WORKSHOP,
WESTERN COLORADO CONGRESS,
NATURAL RESOURCES DEFENSE COUNCIL,
SIERRA CLUB

       Plaintiffs,

v.

U.S. BUR. OF LAND MGMT ET AL.,

       Federal Defendants.




             JOINT MOTION TO STAY LITIGATION PENDING SETTLEMENT


       Plaintiffs and Federal Defendants respectfully move the Court to stay litigation

proceedings so that Federal Defendants can seek approval of the parties’ tentative settlement

agreement from the authorized representative of the Attorney General of the United States for the

Department of Justice. A stay of these proceedings will accommodate amicable resolution of

this matter and preserve the Court’s and parties’ resources.

       The parties have made progress in their settlement discussions and have memorialized

their tentative agreement on settlement. A stay is needed so that the United States can seek

approval from the authorized representative of the Attorney General, the Assistant Attorney

General for ENRD. The United States will use its best efforts to obtain a decision from the

authorized representative of the Attorney General as soon as practicable.
Case 1:16-cv-01822-LTB Document 49 Filed 07/15/19 USDC Colorado Page 2 of 2




       The parties propose to update the Court regarding the status of the approval process and

whether a continued stay is warranted in 20 days.



DATED this 15th day of July, 2019.


                                                     BY THE COURT


                                                     U.S. District Court Judge

APPROVED:

s/                                                  s/
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